Case 5:05-cr-00009-KDB-DCK   Document 1567   Filed 03/11/13   Page 1 of 8
Case 5:05-cr-00009-KDB-DCK   Document 1567   Filed 03/11/13   Page 2 of 8
Case 5:05-cr-00009-KDB-DCK   Document 1567   Filed 03/11/13   Page 3 of 8
Case 5:05-cr-00009-KDB-DCK   Document 1567   Filed 03/11/13   Page 4 of 8
Case 5:05-cr-00009-KDB-DCK   Document 1567   Filed 03/11/13   Page 5 of 8
Case 5:05-cr-00009-KDB-DCK   Document 1567   Filed 03/11/13   Page 6 of 8
Case 5:05-cr-00009-KDB-DCK   Document 1567   Filed 03/11/13   Page 7 of 8
Case 5:05-cr-00009-KDB-DCK   Document 1567   Filed 03/11/13   Page 8 of 8
